
USCA1 Opinion

	










          January 25, 1996      [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
                                 ____________________

        No. 95-1721

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                                   DENNIS L. MASON,

                                Defendant, Appellant.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________

                                                     
                                 ____________________

                                Selya, Cyr and Stahl,

                                   Circuit Judges,
                                   ______________

                                                     
                                 ____________________




             Richard H. Gens for appellant.
             _______________
             Pamela  Merchant,  Trial  Attorney, United  States  Department of
             ________________
        Justice,  with whom Donald K.  Stern, United States  Attorney, Mark D.
                            ________________                           _______
        Seltzer,  Acting Director, New England Bank Fraud Task Force, and Mark
        _______                                                           ____
        Adler,  Senior Trial  Attorney, United  States Department  of Justice,
        _____
        were on brief for appellee.


                                                     
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                    Per Curiam.   Dennis  L. Mason appeals  his convictions
                    Per Curiam.
                    __________

          and sentences for  bankruptcy fraud, bank fraud,  and money laun-

          dering, see 18 U.S.C.    152, 1344, 1957.  We affirm. 
                  ___

                    In  December 1987,  Mason  and First  Service Bank  for

          Savings  ("First Service")  finalized  a loan  agreement  whereby

          First  Service was to advance  $5 million to  Concord Woods North

          Realty Trust ("Realty Trust")  for the sole purpose  of acquiring

          and developing twenty-five  acres of real estate in  Concord, New

          Hampshire.   On the  closing date,  First Service  disbursed over

          $2.4  million to Mason, as trustee of Realty Trust; Mason immedi-

          ately directed  that approximately  $200,000 be deposited  in his

          personal account  at  the Bank  of  Boston.   The  day after  the

          closing, Mason  disbursed  $12,000  from  this  personal  account

          toward the purchase of jewelry for his wife.  

                    During 1988,  Mason diverted approximately  $860,000 in

          First Service loan proceeds  to purposes unrelated to  the Realty

          Trust project, including  a $500,000 transfer to an  Ohio account

          in the  name of his  lawyer.  Between  March and August  1989, he

          transferred another  $100,000 in loan proceeds to  a bank account

          in his wife's name.

                    After  First Service  Bank closed  and its  assets were

          acquired by the Federal Deposit Insurance Corporation ("FDIC") in

          March 1989, Realty  Trust filed  a chapter 7  petition, in  which

          Mason, as  trustee, failed to disclose any of the above-described

          diversions of  First  Service loan  funds.   In  May 1989,  at  a

          meeting of  creditors in the Realty  Trust bankruptcy proceeding,


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          Mason  testified that  all First Service  loan proceeds  had been

          applied to the  Realty Trust  real estate project.   Mason  later

          made similar misrepresentations  to FDIC  attorneys in  September

          1989,  and again in 1992.  In  March 1992, he destroyed his busi-

          ness records.  Two months later he filed his own personal chapter

          7 bankruptcy petition. 

                    Mason first  claims that  the district court  failed to

          instruct the jury on the essential  elements of the crime of bank

          fraud under  section 1344.1  Since Mason  failed to object to the

          jury instruction, we  review only  for plain error.   See  United
                                                                ___  ______

          States v. Hurley, 63 F.3d  1, 9 (1st Cir. 1995).   The challenged
          ______    ______

          jury  instruction  met  the  three-part  standard  established in

          United States v. Brandon, 17 F.3d 409, 424 (1st Cir.) (bank fraud
          _____________    _______

          elements  under 18 U.S.C.    1344 require  showing that defendant

          knowingly engaged in  a scheme  or artifice to  defraud, or  made

          false  statements or  misrepresentations  to  obtain money  from,

          bank), cert. denied, 115 S.  Ct. 80 (1994).  There was  no error,
                 _____ ______

          let alone plain error.



                              
          ____________________

               1As many  arguments advanced by  Mason on appeal  are redun-
          dant, undeveloped, unpreserved, or patently frivolous, they merit
          no discussion.  In particular, since Mason mounts only a perfunc-
          tory challenge  to the bankruptcy fraud  instructions, see United
                                                                 ___ ______
          States v. Zannino,  895 F.2d 1, 17 (1st  Cir.), cert. denied, 494
          ______    _______                               _____ ______
          U.S. 1082 (1990), and the  record on appeal does not  include the
          challenged instructions,  see Fed. R.  App. P. 10(b),  11(a); see
                                    ___                                 ___
          Plummer v.  Springfield Terminal Ry. Co.,  5 F.3d 1, 5  (1st Cir.
          _______     ____________________________
          1993) (merits not reached because pertinent material not included
          in  record  on appeal),  cert. denied,  114  S. Ct.  1057 (1994);
                                   _____ ______
          United  States v. One Motor  Yacht Named Mercury,  527 F.2d 1112,
          ______________    ______________________________
          1113-14 (1st Cir. 1975), we deem the claim abandoned. 

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                    Mason next  contends that the district  court committed

          reversible error by rejecting his  motion for judgment of acquit-

          tal on  the  bank  fraud  charge, since  there  was  insufficient

          evidence that he had embarked on a scheme to defraud  the bank by
                                                                         __

          the time the  loan documents were executed in December  1987.  We
          ___ ____ ___  ____ _________ ____ ________ __ ________  ____

          evaluate the evidence in the light most favorable to the verdict,

          which must  be affirmed if a rational jury could have found Mason

          guilty beyond a reasonable  doubt.  United States v.  Vavlitis, 9
                                              _____________     ________

          F.3d 206, 212 (1st Cir. 1993).  

                    Although  Mason  attempts to  explain the  $12,000 dis-

          bursement from his personal account at Bank  of Boston to pay for

          jewelry  for his wife the day after receiving the initial advance
                                ___ ___ _____

          from First  Service on  the Realty  Trust loan,  there can be  no

          question that  this virtually contemporaneous evidence was suffi-

          cient to enable the  jury reasonably to infer that  the scheme to
                                                  _____

          defraud  had been  formulated by  the time  the loan  closing oc-
                                        __  ___ ____  ___ ____  _______ ___

          curred.   Moreover, larger  diversions of the  Realty Trust  loan
          ______

          proceeds began within three months  after the loan documents were

          executed.   The  jury  was free  to  infer from  this  reasonably

          proximate  subsequent conduct  that Mason's fraudulent  intent to

          engage in the scheme had originated  by the time he executed  the

          loan  documents,  especially  since he  presented  no  compelling

          explanation for  embarking upon the improper  loan diversions the

          day after the  closing.   See United States  v. Sutton, 970  F.2d
                                    ___ _____________     ______

          1001, 1007 (1st Cir. 1992) ("testimony, though it centered around

          later-occurring events,  was relevant to  show appellant's intent


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          at an earlier date"); United States v. Mena, 933 F.2d  19, 25 n.5
                                _____________    ____

          (1st Cir. 1991) (similar). 

                    Mason raises  two sentencing claims.   First, he argues

          that the two-level sentencing  enhancement for more than "minimal

          planning," see  U.S.S.G.   2F1.1(b)(2),  was unwarranted  because
                     ___

          the bank  fraud, bankruptcy  fraud, and money  laundering conduct

          constituted "singular transactions" or "single acts."  We find no

          clear error.   See Brandon, 17  F.3d at 459.   The record reveals
                         ___ _______

          that  Mason repeatedly  diverted First  Service loan  proceeds to

          personal and other improper purposes throughout much of 1988  and

          1989.   Thus, the  sentencing enhancement  for more  than minimal

          planning simply reflected the  reality that his prolonged conduct

          was  no "spur  of  the moment"  undertaking.   United  States  v.
                                                         ______________

          Gregorio, 956 F.2d 341, 343 (1st Cir. 1992). 
          ________

                    Second, Mason  claims that  the total  loss calculation

          was clearly  erroneous.  He relies  on a $4 million  appraisal of

          the  Concord Woods  North  property, whereas  the district  court

          relied on a  $110,000 FDIC  appraisal.  We  review the  valuation

          ruling for clear error.  United States v. Tardiff, 969 F.2d 1283,
                                   _____________    _______

          1288 (1st Cir.  1992).   The record discloses  that the  district

          court reasonably  could have  found that Mason's  appraisal over-

          stated the number  of single-family homes the Concord Woods North

          property could accommodate and  relied on inflated valuations for

          individual building lots.  On the other hand, the much lower FDIC

          appraisal figure is the product of alternative valuation methods;

          viz., an "income capitalization  approach" and a "comparable land


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          sales approach."  See U.S.S.G.   6A1.3(a) ("the court may consid-
                            ___

          er relevant information .  . . provided that the  information has

          sufficient indicia of reliability to support its probable accura-

          cy.").  On this record, there was no clear error  in the district

          court finding  that the  defendant's valuation was  less reliable

          than that of the FDIC.  United States v.  Tejada-Beltran, 50 F.3d
                                  _____________     ______________

          105, 110 (1st Cir. 1995) ("[T]he  sentencing court's choice among

          supportable alternatives cannot be clearly  erroneous.") (quoting

          United States v. Ruiz, 905 F.2d 499, 508 (1st Cir. 1990)).
          _____________    ____

                    Finally,  Mason  presents  an "ineffective  assistance"

          claim based on trial counsel's alleged failure (1) to object to a

          supplemental  jury instruction on bank fraud, and (2) to move for

          a new trial based on the same instruction.  See  United States v.
                                                      ___  _____________

          Ortiz,  23 F.3d  21  (1st Cir.  1994) (entertaining  "ineffective
          _____

          assistance" claim on direct  appeal where record was sufficiently

          developed and critical facts were not in dispute).  

                    The  instruction  in question  informed  the  jury that

          appellant could be  convicted upon "whatever scheme  you find the
                                              ________ ______

          government  has proven  beyond  a reasonable  doubt."   (Emphasis

          added.)  Mason asserts that this rendered the indictment "duplic-

          itous."  We disagree.  The challenged instruction  simply permit-

          ted the jury to convict based on a scheme plainly  alleged in the

          indictment.  The evidence adduced  at trial worked no  broadening

          of the scheme alleged  in the indictment.   See United States  v.
                                                      ___ _____________

          Miller, 471 U.S.  130, 145  (1985).   The ineffective  assistance
          ______

          claim therefore  fails as Mason has  not demonstrated "prejudice"


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          from  the alleged omission by  trial counsel.   See Strickland v.
                                                          ___ __________

          Washington, 466 U.S. 668, 687 (1984). 
          __________

                    Affirmed.  See 1st Cir. R. 27.1.
                    Affirmed.
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